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            EXHIBIT “F”
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                 DebtEd, BAPCPA, CRTCOMP, FeeDueINST, PRIORFILING, DISMISSED


                                          U.S. Bankruptcy Court
                                       District of Nevada (Las Vegas)
                                    Bankruptcy Petition #: 23-12054-mkn
                                                                                                           Date filed: 05/22/2023
                                                                                                   Debtor dismissed: 09/06/2023
Assigned to: MIKE K. NAKAGAWA                                                                           341 meeting: 08/08/2023
Chapter 13                                                                               Deadline for filing claims: 07/31/2023
                                                                                   Deadline for filing claims (govt.): 11/20/2023
Voluntary
Asset



Debtor                                                                   represented by TERESARENIT ABUR WELL
TERESARENIT ABUR WELL                                                                   PRO SE
9344 VISTA WATERS LANE
LAS VEGAS, NV89178
CLARK-NV
SSN / ITIN: xxx-xx-2408

Defendant                                                                represented by MICHAEL E. STOBERSKI
Signature Real Estate Group                                                             OLSON CANNON GORMLEY
Olson Cannon Gormley & Stoberski                                                        ANGULO & STOBERSKI
9950 W. Cheyenne Ave.                                                                   9950 WESTCHEYENNE
Las Vegas                                                                               LAS VEGAS, NV89129
(702) 384-4012                                                                          (702) 384-4012
                                                                                        Fax : (702)
                                                                                        Email: mstoberski@ocgas.com

Trustee                                                                  represented by DANIEL G RIGGS
RICK A. YARNALL                                                                         RICK A YARNALL
701 BRIDGER AVE., #820                                                                  701 BRIDGER AVE., #820
LAS VEGAS, NV89101                                                                      LAS VEGAS, NV89101
(702) 853-4500                                                                          702-853-8500
                                                                                        Fax : 702-853-4513
                                                                                        Email: dan@lasvegas13.com

                                                                                          RICK A. YARNALL
                                                                                          701 BRIDGER AVE., #820
                                                                                          LAS VEGAS, NV89101
https://ecf.nvb.uscourts.gov/cgi-bin/DktRpt.pl?548894653318295-L_1_0-1                                                              1/6
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                                                                                          (702) 853-4500
                                                                                          Email: ecfmail@LasVegas13.com

     Filing Date                           #                                                Docket Text

                                       1                      Chapter 13 Voluntary Petition Individual. Fee Amount $0. Request for fee
                                       (10 pgs)               to be paid in installments. Filed by TERESARENIT ABUR WELL . (ccc)
  05/22/2023                                                  (Entered: 05/22/2023)

                                       2                      Meeting of Creditors and Notice of Appointment of Trustee YARNALL,
                                       (2 pgs)                RICK A.. 341 meeting to be held on 6/27/2023 at 09:00 AM at Remote.
                                                              Chapter 13 Deadline to Object to Debtors Discharge or to Challenge
                                                              Dischargeability of Certain Debts is 8/28/2023. Proof of Claim due by
  05/22/2023                                                  7/31/2023. (Entered: 05/22/2023)

                                       3                      Statement of Social Security Number(s). This document contains
                                                              sensitive information and cannot be viewed by the public. Filed by
  05/22/2023                                                  TERESARENIT ABUR WELL (ccc) (Entered: 05/22/2023)

                                       4                      Application to Pay Filing Fee in Installments with Proposed Order Filed
  05/22/2023                           (2 pgs)                by TERESARENIT ABUR WELL (ccc) (Entered: 05/22/2023)

                                       5                      Set Deficient Filing Deadlines. Incomplete Filings due by 6/5/2023.
                                                              Verification of Creditor Matrix due by 6/5/2023. Summary of Assets and
                                                              Liabilities due by 6/5/2023. Schedules A/B-J due by 6/5/2023. Declaration
                                                              Re: Schedules due by 6/5/2023. Statement of Financial Affairs due by
                                                              6/5/2023. Chapter 13 Plan due by 6/5/2023. Chapter 13 Statement of Your
                                                              Current Monthly Income and Calculation of Commitment Period Form
  05/22/2023                                                  122C-1 Due 6/5/2023 (ccc) (Entered: 05/22/2023)

                                       6
  05/22/2023                           (2 pgs)                Notice of Incomplete and/or Deficient Filing. (ccc) (Entered: 05/22/2023)

                                                              Notice of Debtor's Prior Filing for debtor TERESARENIT ABUR WELL
                                                              Case Number 09-10040, Chapter 7 filed in Nevada Bankruptcy Court on
                                                              01/05/2009 , Standard Discharge on 04/16/2009; Case Number 23-10056,
                                                              Chapter 7 filed in Nevada Bankruptcy Court on 01/09/2023; Case Number
                                                              15-14405, Chapter 7 filed in Nevada Bankruptcy Court on 07/31/2015 ,
                                                              Standard Discharge on 04/20/2016; Case Number 19-11354, Chapter 13
                                                              filed in Nevada Bankruptcy Court on 03/11/2019 , Dismissed for Other
                                                              Reason on 06/17/2019; Case Number 19-13836, Chapter 13 filed in
                                                              Nevada Bankruptcy Court on 06/17/2019 , Dismissed for failure to pay
  05/23/2023                                                  filing fee on 12/04/2019.(Admin) (Entered: 05/23/2023)

                                       7                      Order Granting Application to Pay Filing Fees in Installments (Related
                                       (1 pg)                 document(s) 4) First Installment Payment due by 05/30/2023. Second
                                                              Installment Payment due by 07/21/2023. Third Installment Payment due
                                                              by 08/21/2023. Fourth Installment Payment due by 09/19/2023. (arv)
  05/23/2023                                                  (Entered: 05/23/2023)

                                       8                      BNC Certificate of Notice (Related document(s)2 Meeting of Creditors
                                       (3 pgs)                Chapter 13 (BNC)) No. of Notices: 3. Notice Date 05/24/2023. (Admin.)
  05/24/2023                                                  (Entered: 05/24/2023)



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                                       9                      BNC Certificate of Notice. (Related document(s)6 Incomplete and/or
                                       (3 pgs)                Deficient Filing-Ch 13 (BNC)) No. of Notices: 0. Notice Date 05/24/2023.
  05/24/2023                                                  (Admin.) (Entered: 05/24/2023)

                                       10                     BNC Certificate of Notice - pdf (Related document(s)7 Application to Pay
                                       (2 pgs)                Filing Fee in Installments (BNC)) No. of Notices: 0. Notice Date
  05/25/2023                                                  05/25/2023. (Admin.) (Entered: 05/25/2023)

                                       11                     Certificate of Credit Counseling Filed by TERESARENIT ABUR WELL
  06/05/2023                           (1 pg)                 (arv) (Entered: 06/05/2023)

                                       12                     Debtor's Motion To Have First Installment Payment And Documents
                                       (6 pgs)                Required With The Voluntary Petition Or 14 Days From Filings Extended
                                                              Due To Extuniating Circumstances with Proposed Order Filed by
  06/05/2023                                                  TERESARENIT ABUR WELL (arv) (Entered: 06/05/2023)

                                       13                     Order Granting Motion To Extend Deadline to File Schedules or Provide
                                       (2 pgs)                Required Information (Related Doc # 12), Granting Application (Related
                                                              document(s) 12) Incomplete Filings due by 6/20/2023 (arv) (Entered:
  06/05/2023                                                  06/05/2023)

                                       14                     Clerk Forwarded Document to BNC for Noticing. (Related document(s)13
                                       (2 pgs)                Order on Motion to Extend Deadline to File Schedules, Order on
  06/05/2023                                                  Miscellaneous Application) (arv) (Entered: 06/05/2023)

                                       15                     Set Deficient Filing Deadlines. Incomplete Filings due by 6/20/2023.
                                                              Verification of Creditor Matrix due by 6/20/2023. Summary of Assets and
                                                              Liabilities due by 6/20/2023. Schedules A/B-J due by 6/20/2023.
                                                              Declaration Re: Schedules due by 6/20/2023. Statement of Financial
                                                              Affairs due by 6/20/2023. Chapter 13 Plan due by 6/20/2023. Chapter 13
                                                              Statement of Your Current Monthly Income and Calculation of
                                                              Commitment Period Form 122C-1 Due 6/20/2023 (arv) (Entered:
  06/05/2023                                                  06/05/2023)

                                       16                     BNC Certificate of Notice - pdf (Related document(s)14Document
                                       (3 pgs)                Forwarded to BNC for Noticing (BNC)) No. of Notices: 0. Notice Date
  06/07/2023                                                  06/07/2023. (Admin.) (Entered: 06/07/2023)

                                       17                     Receipt Number-Installment Payment 244196, FeeAmount $80.00 (admin)
  06/13/2023                                                  (Entered: 06/13/2023)

                                       18                     Individual Schedule[s] A/B, C, D, E/F, G, H, I, J, Declaration Concerning
                                       (96 pgs; 2 docs)       Debtor[s] Schedules, , Statement of Financial Affairs for Individual ,
                                                              Chapter 13 Statement of Your Current Monthly Income and Calculation of
                                                              Commitment Period for 3 Years Form 122C-1. Disposable Income Is Not
                                                              Determined , Amendment to List of Creditors Filed by TERESARENIT A
                                                              BURWELL (Related document(s) 15 Set Deficient Filing Deadlines) (arv)
                                                              Additional attachment(s) added on 6/21/2023 (Youngblood, CL). (Entered:
  06/20/2023                                                  06/20/2023)

                                       19                     Motion to Extend Deadline to File Schedules or Provide Required
                                       (1 pg)                 Information Filed by TERESARENIT ABUR WELL (arv) (Entered:
  06/20/2023                                                  06/20/2023)

  06/26/2023                           20                     Order Granting Motion To Extend Deadline to File Schedules or Provide
                                       (1 pg)                 Required Information (Related Doc # 19) (Related document(s)13Order

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                                                              on Motion to Extend Deadline to File Schedules, 15 Set Deficient Filing
                                                              Deadlines.) (arv) (Entered: 06/26/2023)

                                       21                     Set Deficient Filing Deadlines. Incomplete Filings due by 6/30/2023.
  06/26/2023                                                  Chapter 13 Plan due by 6/30/2023. (arv) (Entered: 06/26/2023)

                                       22                     Clerk Forwarded Document to BNC for Noticing. (Related document(s)20
                                       (1 pg)                 Order on Motion to Extend Deadline to File Schedules) (arv) (Entered:
  06/26/2023                                                  06/26/2023)

                                       23                     341 Meeting Continued hearing will be conducted via video conferencing.
                                                              Visit www.lasvegas13.com/341.html for more information. 341(a) meeting
                                                              to be held on 7/11/2023 at 09:00 AM at Remote. (YARNALL, RICK)
  06/28/2023                                                  (Entered: 06/28/2023)

                                       24                     BNC Certificate of Notice - pdf (Related document(s)22Document
                                       (2 pgs)                Forwarded to BNC for Noticing (BNC)) No. of Notices: 0. Notice Date
  06/28/2023                                                  06/28/2023. (Admin.) (Entered: 06/28/2023)

                                       25                     341 Meeting Continued hearing will be conducted via video conferencing.
                                                              Visit www.lasvegas13.com/341.html for more information. 341(a) meeting
                                                              to be held on 8/8/2023 at 11:00 AM at Remote. (YARNALL, RICK)
  07/11/2023                                                  (Entered: 07/11/2023)

                                       26                     ExParte Debtor, Teresa Renita Burwell's Emergency Motion To Stay
                                       (13 pgs)               Eviction Pursuant To Bankruptcy Code 11 USC&362 Filed by TERESA
  07/17/2023                                                  RENITABUR WELL (jow) (Entered: 07/17/2023)

                                       27                     Trustee's Motion to Dismiss Case Pursuant To 11 U.S.C. § 1307(c)(1), (3)
                                       (6 pgs)                And (4) with Proposed Order with Certificate of Service Filed by DANIEL
                                                              G RIGGS on behalf of RICK A. YARNALL (RIGGS, DANIEL) (Entered:
  07/21/2023                                                  07/21/2023)

                                       28                     Notice of Hearing Hearing Date: 08/17/2023 Hearing Time: 2:00 PM Filed
                                       (2 pgs)                by DANIEL G RIGGS on behalf of RICK A. YARNALL(Related
                                                              document(s)27 Motion to Dismiss Case filed by Trustee RICK A.
  07/21/2023                                                  YARNALL) (RIGGS, DANIEL) (Entered: 07/21/2023)

                                       29                     Notice of Requirement to File Certification About AFinancial
  07/23/2023                           (2 pgs)                Management Course.(admin) (Entered: 07/23/2023)

                                       30                     Notice of Docketing Error (Related document(s)27 Motion to Dismiss
                                       (1 pg)                 Case filed by Trustee RICK A. YARNALL, 28 Notice of Hearing filed by
  07/24/2023                                                  Trustee RICK A. YARNALL) (jow) (Entered: 07/24/2023)

                                       31                     Hearing Scheduled/Rescheduled.Hearing scheduled 8/17/2023 at 02:00
                                                              PM at Remote. (Related document(s)27 Motion to Dismiss Case filed by
  07/24/2023                                                  Trustee RICK A. YARNALL) (jow) (Entered: 07/24/2023)

                                       32                     BNC Certificate of Notice. (Related document(s)29 Notice of Requirement
                                       (3 pgs)                to File Certification of Completion of Instructional Course Concerning
                                                              Financial Management (BNC)) No. of Notices: 0. Notice Date 07/26/2023.
  07/26/2023                                                  (Admin.) (Entered: 07/26/2023)

  07/27/2023                           33                     DENIED (Order) (Related document(s) 26) (arv) (Entered: 07/27/2023)

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                                       (1 pg)

                                       34                     Clerk Forwarded Document to BNC for Noticing. (Related document(s)33
  07/27/2023                           (1 pg)                 Order on Miscellaneous Application) (arv) (Entered: 07/27/2023)

                                       35                     BNC Certificate of Notice - pdf (Related document(s)34Document
                                       (2 pgs)                Forwarded to BNC for Noticing (BNC)) No. of Notices: 0. Notice Date
  07/29/2023                                                  07/29/2023. (Admin.) (Entered: 07/29/2023)

                                       36                     Motion to Dismiss Case Pursuant to 11 U.S.C. Section 1307 (c)(1), (3),
                                       (5 pgs)                and (4) with Certificate of Service (YARNALL, RICK) (Entered:
  08/01/2023                                                  08/01/2023)

                                       37                     Notice of Hearing on Motion to Dismiss Hearing Date: 8/31/2023 Hearing
                                       (2 pgs)                Time: 2:00 PM (Related document(s)36 Motion to Dismiss.)(YARNALL,
  08/01/2023                                                  RICK) (Entered: 08/01/2023)

                                       38                     Hearing Scheduled/Rescheduled.Hearing scheduled 8/31/2023 at 02:00
                                                              PM at Remote. (Related document(s)36 Motion to Dismiss) (arv)
  08/02/2023                                                  (Entered: 08/02/2023)

  08/08/2023                           39                     341 Meeting Off Calendar (YARNALL, RICK) (Entered: 08/08/2023)

                                       40                     Minute Entry Re: hearing on 8/17/2023 2:00 PM. Continued. (related
                                                              document(s): 27 Motion to Dismiss Case filed by RICK A. YARNALL)
                                                              Appearance: DANIEL G RIGGS (Hearing scheduled 08/31/2023 at 02:00
  08/17/2023                                                  PM at Duty Judge Conference. (cas) (Entered: 08/18/2023)

                                       41                     Minute Entry Re: hearing on 08/31/2023 02:00 pm. Hearing Off Calendar
                                                              (related document(s): 27 Motion to Dismiss Case filed by RICK A.
  08/31/2023                                                  YARNALL) (brr) (Entered: 08/31/2023)

                                       42                     Order Granting Motion To Dismiss Case (Related Doc # 36) (arv)
  09/06/2023                           (2 pgs)                (Entered: 09/06/2023)

                                       43                     Notice of Dismissal; Notice that all Pending Hearings are Vacated.(admin)
  09/06/2023                           (1 pg)                 (Entered: 09/06/2023)

                                       44                     BNC Certificate of Notice. (Related document(s)43 Notice of Dismissal;
                                       (4 pgs)                Notice That All Pending Hearings Are Vacated (BNC-BK)) No. of
  09/09/2023                                                  Notices: 9. Notice Date 09/09/2023. (Admin.) (Entered: 09/09/2023)

                                       45                     Adversary case 23-01129. Complaint Filed by TERESARENIT A
                                       (13 pgs)               BURWELL vs. SIGNATURE REALEST ATE GROUP, SOUTHERN
                                                              NEVADA EVICTION SERVICES Fee Amount $350. (02 (Other (e.g.
                                                              other actions that would have been brought in state court if unrelated to
  09/20/2023                                                  bankruptcy))(arv) (Entered: 09/20/2023)

                                       46                     Chapter 13 Standing Trustee's Final Report and Account -Dismissed.
                                       (3 pgs)                Chapter 13 (Dismissed) Closing due 09/27/2023. (YARNALL, RICK)
  09/26/2023                                                  (Entered: 09/26/2023)

  09/27/2023                           47                     Certificate of Service Filed by RICK A. YARNALL on behalf of RICK A.
                                       (2 pgs)                YARNALL (Related document(s)46 Chapter 13 Standing Trustee's Final


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                                                              Report and Account -Dismissed) (YARNALL, RICK) (Entered:
                                                              09/27/2023)

                                       48                     Answer to Complaint (Related Doc # []) Filed by MICHAELE.
                                       (6 pgs)                STOBERSKI on behalf of Signature Real Estate Group (STOBERSKI,
  11/15/2023                                                  MICHAEL) (Entered: 11/15/2023)




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